               1:23-cv-01423-CSB-EIL # 31            Filed: 11/30/23     Page 1 of 6

051778/21723/MHW/JJL


                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF ILLINOIS
 KSHAWN FREEMAN, et al.
                                                       Case Number 23-cv-04250
                        Plaintiffs,
                                                       Hon. Colin S. Bruce
 v.
                                                       Magistrate Judge Eric I. Long
 JAMES DAWSON, et al.

                        Defendants.

      WEXFORD HEALTH SOURCES, INC.’S, FED. R. CIV. P. 12(B)(6) MOTION TO
          DISMISS COUNTS II, III, AND IV OF PLAINTIFFS’ COMPLAINT

        NOW COMES Defendant, WEXFORD HEALTH SOURCES, INC., by and through its

attorneys, MATTHEW H. WELLER, JOSEPH J. LOMBARDO, and CHAD SKARPIAK of

CASSIDAY SCHADE LLP, and pursuant to Fed. R. Civ. P., 12(b)(6), moves to dismiss Counts

II, III, and IV of Plaintiff’s Complaint (ECF #1). In support thereof, Defendant states as follows:

                                        INTRODUCTION

        Plaintiffs, KEYSHAWN FREEMAN, REYNADA JONES, HERBIE MCBRIDE, MARIO

FROYLAN, DARCELL PRINCE, and JAMES HUGHES, through their retained counsel, filed a

five-count Complaint bringing both federal and state law claims against the Defendants. In their

Complaint, Plaintiffs allege that sonographer, Defendant, JAMES DAWSON (“Dawson”),

sexually assaulted them at Illinois River Correctional Center from the “summer of 2021” to “early

2022”. (ECF #1 at ¶ 4-5). Plaintiffs allege that Dawson was either the owner or employee of

Defendant, Precise Specialties. Id. at ¶ 3). Plaintiffs further allege that the Illinois Department of

Corrections (“IDOC”) and/or Wexford Health Sources, Inc. (“Wexford”) contracted with Precise

Specialties to perform scheduled sonogram examinations at prisons through the IDOC. Id.

        In Count I, Plaintiffs bring a claim for violation of his Eight Amendment rights pursuant

to 42 U.S.C. § 1983 against all Defendants. Id. at ¶¶ 31-35. In Count II, Plaintiffs plead a state law
               1:23-cv-01423-CSB-EIL # 31              Filed: 11/30/23    Page 2 of 6




claim for intentional infliction of emotional distress (“IIED”). Id. at ¶¶ 36-41. In Count III,

Plaintiffs allege a state law claim for sexual battery. Id. at ¶¶ 42-47. Count IV is a state law

negligence claim. Id. at ¶¶ 48-53. Count V is a state law indemnification claim against the IDOC

and is not directed at Wexford.

       Counts II, III, and IV of the Complaint fail as a matter of law as to Wexford. In regard to

Counts II and III, the sole theory of liability against Wexford is respondeat superior for the alleged

sexual abuse committed by Dawson. However, even if an agency relationship existed, it is well-

established that acts of sexual assault are outside the scope of employment. In regard to Count IV,

Plaintiffs’ allegations against Wexford are fatally vague as it is unclear whether they are bringing

a direct negligence claim against Wexford or a claim against Wexford based upon respondeat

superior. Consequently, Count IV fails to meet the notice pleadings requirement established by

the Supreme Court in Twombly, Iqbal, and their progeny. Thus, Counts II, III, and IV of the

Complaint should be dismissed as to Wexford.

                                            ARGUMENT

   A. Counts II and III Should Be Dismissed Because Wexford Cannot Be Held Vicariously
      Liable for the Alleged Sexual Assault of Dawson and/or Precise Specialties

       In Count II, Plaintiffs assert a state law claim for IIED. In support of this claim, Plaintiffs

allege that Dawson sexually abused him and that this conduct was “extreme and outrageous.” Id.

at ¶¶ 37-38. Plaintiffs further allege that “Wexford is liable for these torts as the employer/master

of Dawson and/or Precise Specialties.” Id. at ¶ 40. In Count III, Plaintiffs assert a state law claim

for sexual battery. Specifically, Plaintiffs allege that “Dawson did in fact have non-consensual

sexual contact with each of the plaintiffs.” Id. at ¶ 44. As in Count II, Plaintiffs allege that Wexford

is vicariously liable for the conduct of Dawson in Count III. Id. at ¶ 46.




                                                   2
               1:23-cv-01423-CSB-EIL # 31             Filed: 11/30/23     Page 3 of 6




        Based upon Plaintiff’s allegations in Counts II and III, the sole theory of liability against

Wexford is that it is vicariously liable for the conduct of its alleged agents, Dawson and Precise

Specialties. As an initial matter, Wexford denies that an agency relationship existed between it and

Dawson and/or Precise Specialties. Notwithstanding, even if it did, Plaintiff’s claims against

Wexford, as set forth in Counts II and III, fail as a matter of law because it is well-established that

acts of sexual assault are outside the scope of employment. Deloney v. Board of Educ., 281 Ill.

App. 3d 775, 783-784 (Ill. 1st Dist. 1996)(“sexual abuse, by its very nature, precludes a conclusion

that it was committed within the scope of employment”…“’scope of employment’ excludes

conduct by an employee that is solely for the benefit of the employee.”; See also Gambling v.

Cornish, 426      F.    Supp.      1153     (N.D.      Ill.   1977) (sexual assault      by     police

officer outside scope of employment; no vicarious liability by employer); Randi F. v. High

Ridge YMCA, 170 Ill. App. 3d 962, 524 N.E.2d 966, 120 Ill. Dec. 784 (1988) (sexual assault of

child by day-care teacher is deviation from scope of employment); Bates v. Doria, 150 Ill. App.

3d 1025; 502 N.E.2d 454, 104 Ill. Dec. 191 (1986) (sexual assault outside scope of authority; no

vicarious liability); Webb v. Jewel Cos., 137 Ill. App. 3d 1004, 485 N.E.2d 409, 92 Ill. Dec. 598

(1985) (sexual molestation outside scope of employment; no vicarious liability);

        Because Plaintiff’s IIED and Sexual Battery Claims are premised on the sexual abuse that

was allegedly carried out by Dawson, and the sole theory of liability against Wexford for these

claims is that Dawson was its agent, Counts II and III must be dismissed as to Wexford because

Dawson was not acting within the scope of his employment during the commission of these alleged

assaults.




                                                  3
                1:23-cv-01423-CSB-EIL # 31              Filed: 11/30/23     Page 4 of 6




    B. Count IV Should Be Dismissed Because It Fails to Put Wexford on Notice of Whether
       Plaintiffs Are Asserting a Direct Negligence Claim or a Respondeat Superior Claim

        The purpose of a motion to dismiss is not to determine whether a plaintiff will ultimately

succeed on his claims, but whether the complaint sufficiently asserts facts which, when accepted as

true, state a valid and plausible claim for relief. Ashcroft v. Iqbal, 556 US 662, 678 (2009). Under

the notice pleading standard of Federal Rule of Civil Procedure 8(a)(2), a complaint must present

more than labels, conclusions, or a formulaic recitation of the elements of a cause of action. Bell

Atlantic Corp. V. Twomply, 550 U.S. 544, 555 (2007). The complaint must at least “plausibly suggest

that the plaintiff has a right to relief, raising the possibility above a ‘speculative level.’” E.E.O.C. v.

Concerntra Health Services, Inc., 496 F.3d 773, 776-77 (7th Cir. 2007).

        Count IV is a state law negligence claim. Plaintiffs’ allegations in support of Count IV are

that “Wexford and the Unknown Wexford Employees breached the duty of care by failing to take

reasonable steps to protect prisoners, including Plaintiffs, from sexual assault.” (ECF #1 at ¶ 50).

Plaintiff further alleges, “[i]f Wexford and the Unknown Wexford employees had intervened as is

their duty, and taken steps to prevent sexual assault, the Plaintiffs would not have suffered their

injuries.” (ECF #1 at ¶ 51). In addition, Plaintiff asserts “Wexford and Unknown Wexford

Employees could reasonably see that their failures to act would result in Plaintiff’s injuries,

considering the risks of sexual assault in prison and their failures to do anything to prevent it.”

(ECF #1 at ¶ 52).

        Count IV does not contain any allegations indicating that Wexford is being named as a

Defendant because it is vicariously liable for the conduct of its purported “Unknown Employees.”

Moreover, Plaintiffs do not make any allegations in Count IV, or anywhere else in the Complaint,

that describe how Wexford was institutionally negligent. Thus, Plaintiffs’ claim for negligence

against Wexford fails as a matter of law because it is too vague and ambiguous to put Wexford on

                                                    4
              1:23-cv-01423-CSB-EIL # 31           Filed: 11/30/23    Page 5 of 6




notice as to whether they are pursuing a direct claim against said Defendant for institutional

negligence; or, if they a pursuing a claim against Wexford based upon vicarious liability of its

purported “Unknown Employees.” Consequently, pursuant to the notice pleading standards set

forth in Twombly, Iqbal, and their progeny, Count IV should be dismissed as a matter of law.

       WHEREFORE, Defendant, WEXFORD HEALTH SOURCES, INC., respectfully requests

that this Honorable Court dismiss Counts II, III, and IV of Plaintiffs’ Complaint as to this

Defendant.



                                            Respectfully submitted,

                                            CASSIDAY SCHADE LLP


                                            By: /s/ Chad M. Skarpiak_____________
                                                One of the Attorneys for Defendant,
                                                WEXFORD HEALTH SOURCES, INC.




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                                               5
                1:23-cv-01423-CSB-EIL # 31             Filed: 11/30/23     Page 6 of 6




                                   CERTIFICATE OF SERVICE

       I hereby certify that on November 30, 2023, I electronically filed the foregoing document

with the clerk of the court for the Central District of Illinois, using the electronic case filing system

of the court. The electronic case filing system sent a “Notice of E-Filing” to the attorneys of record

in this case.

                                                                   /s/ Chad M. Skarpiak




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